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                                                                                           FILED
                                                                                 jj    H      H1 COURT
                                                                                                  DIV.
                     IN THE UNITED STATES DISTRICT COURT FOR                  -
                                                             20119 FEB 21 AM 11-28
                        THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION
                                                                                      SO, 01SL OF GA.

UNITED STATES OF AMERICA

                                             )
                                             )
John Curry Jackson                           )       CASE NO. CR495-00123-023


                                             ORDER

       On June 26, 2008, the Court denied Defendant's Motion to Reduce Sentence Pursuant to 18

U.S.C. § 3582(c)(2). On February 26, 2009, Defendant filed another Motion to Reduce Sentence

Pursuant to 18 U.S.C. § 3 582(c). The Court assumes that Defendant did not receive a copy of the

Court's Order dated June 26, 2008, prior to filing another motion. For the same reason set forth in

the Court's original Order (Doc. 1041) as to Defendant's request, the Motion is DENIED.

        SO ORDERED, this                day of February, 2009.



                                                     WILLIAM T. MOORE, JR.HIEF JUDGE
                                                     UNITED STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF GEORGIA
